                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      MIDLAND DIVISION

In Re:                                             §             Chapter 11
                                                   §
Forza Pipeline Services, Inc.,                     §             Case No. 24-70030-smr
                                                   §
         Debtor.                                   §

                    SECTION 1188(C) PRE-STATUS CONFERENEC REPORT

TO THE HONORABLE SHAD M. ROBINSON, UNITED STATES BANKRUTPCY JUDGE:

         COMES NOW, Forza Pipeline Services, Inc., the Debtor in Possession in the referenced

Chapter 11 bankruptcy proceeding (“Forza”) or “Debtor”), and files this Section 1188(c) Pre-Status

Conference Report (the “Status Report”), and in support thereof would respectfully show unto the

Court as follows:

                                                  Jurisdiction

          1.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157.

 This is a core proceeding pursuant to 28 U.S.C. §§ 157(b).

                                                  Bankruptcy

          2.       Debtor filed a Voluntary Petition for relief under Subchapter V of chapter 11 of the

 United States Bankruptcy Code on March 20, 2024 (the “Petition Date”). Since the Petition

 Date, Debtor has continued to operate as a debtor in possession pursuant to 11 U.S.C. §§ 1106(a)

 and 1184.

          3.       On March 22, 2024, Eric Terry was appointed to serve as the Subchapter V Trustee

 pursuant to Notice of Appointment of Subchapter V Trustee filed by the United States Trustee for

 the Western District of Texas [Docket No. 8].




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                              Matters Precipitating Case Commencement

            4.       Forza was in the business of providing oilfield pipeline installation and pipeline

repair services, among other general oilfield services to its customers in and around the Permian

Basin. Forza provided its services pursuant to master service agreements (“MSA”) in place with

medium and large producers and operators, including Continental Resources, Inc. and Conoco

Phillips.        During a period of reduced cash flows in 2023, one or more of Forza’s unpaid

subcontractors delivered notices of their intent to file mineral liens to certain counterparties of

Forza’s MSAs, which ultimately caused these counterparties/customers to immediately cease

extending Forza work under their respective service contracts with the Debtor.

            5.       Further, one of Forza’s shareholders refused to vote in favor of any substantial

sale of Forza’s assets as required under the corporations’s bylaws. Under Forza’s bylaws, a

supermajority of shareholders were required to vote in favor of such a sale, which was essentially

blocked by this shareholder without reasonable explanation. Unable to operate or engage in an

orderly sale of its assets for the benefit of its creditors, the Debtor had no option other than to

commence the instant bankruptcy case.

                                   Summary of Debtor’s Operations

            6.       Debtor is an oilfield services company formed as a Texas corporation in

 December 2017, and is headquartered in a building and yard it owns at 2217 East County Road

 155, Midland, Texas. A recent appraisal of this building and yard yielded a market valuation

 of Forza’s real property and improvements in the amount of $1,790,000.00.

            7.     Debtor currently has on hand oilfield equipment and tools with a value of

approximately $876,400.00.




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          8.      First Bank & Trust asserts a first-in-priority lien against Forza’s real and personal

property in the amount of approximately $604,006.00.

          9.      TXP Capital, LLC (“TXP Capital”) also asserts a lien against the Debtor’s real

and personal property, to secure a claim for factoring invoices and credit extended to the Debtor

in the amount of approximately $744,194.00.

          10.     Claims of general unsecured creditors of the Debtor total approximately

$4,021,874.00.

                                         Post-Petition Activities

          11.     Debtor has selected Prosperity Bank as its depository institution and has opened

its debtor in possession account with this financial institution.

          12.     Since commencing the instant bankruptcy case, the Debtor has engaged in

discussions with numerous parties interested in purchasing its real and personal property as part

of an orderly bankruptcy liquidation of its assets. At the time of filing this report, the Debtor is

also seeking to secure the services of a real estate agent to assist it with the sale of its real property.

The Debtor anticipates securing value for its property over and above the claims of its secured

creditors, which it intends to disburse to its priority and unsecured creditors pursuant to a

liquidating Chapter 11 Plan.

                          Debtor’s Efforts to Formulate a Chapter 11 Plan

         13.      Consistent with 11 U.S.C. § 1190, the Debtor anticipates filing a chapter 11 plan

which proposes payment towards claims of unsecured creditors of the Debtor in an amount of no

less than the liquidation value of Debtor’s assets of the estate, after paying all secured,

administrative and priority claims.




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             Debtor’s Communications with Creditors Regarding Consensual Plan

          14.     Debtor’s counsel has initiated communications with FirstBank & Trust and TXP

Capital regarding retirement of the company secured debt. It is anticipated, however, that

discussions will expand to include other creditors of the Debtor as the Debtor advances toward

preparation of a chapter 11 plan.

          Dated this the 16th day of April 2024.

                                                   Respectfully submitted,

                                                   McWHORTER, COBB & JOHNSON, L.L.P.
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                                                   By: /s/ Todd J. Johnston
                                                          Todd J. Johnston
                                                   Proposed Attorney for Debtor
                                                   Forza Pipeline Services, Inc.



                                    CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 16th day of April 2024, a copy of the
 foregoing Report was served via ECF on the parties registered with the Court to receive ECF.



                                                          /s/ Todd J. Johnston
                                                           Todd J. Johnston




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